          Case 1:21-cr-10051-MLW Document 77 Filed 02/02/22 Page 1 of 3




                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA)
                        )
    v.                  )                           Criminal No. 21-10051-MLW
                        )
MANUEL SANTANA VIZCAINO )


                        Affidavit in Support Of Motion To Suppress

     I, Manuel Santana Vizcaino, depose and say as follows:

     1.       On August 21, 2020, I parked my car outside 185 Willow Street. I got out of the

              car and went inside 185 Willow Street. I came out and got into my car and drove

              away. I noticed a car following me.

     2.       I noticed that the car kept following me as I was driving. I then noticed that the

              car turned on police lights. I pulled over and stopped my car when I saw that.

     3.       When I stopped my car, I noticed two other cars arrive. I saw two persons

              approach my car withe their guns out and pointing at me. They opened the door,

              pulled me out of the car, and threw me to the ground. Then they handcuffed me

              and searched my body. They reached into my pockets and took out whatever I had

              in my pockets. They stood me up, pulled down my pants, and patted all around

              my underwear.

     4.       I did not give them permission to search my body and clothing.

     5.       Then they searched my car. I did not give them permission to search my car.
     Case 1:21-cr-10051-MLW Document 77 Filed 02/02/22 Page 2 of 3




6.       They took my wallet out of my pocket and went through it.They also took my

         daughter’s pink phone from my pocket.

7.       I had some money in the car that they took from the car. I have seen a photograph

         of a piece of paper with a telephone number on it. I did not have that piece of

         paper in my pockets, in my wallet, or on my person. I am not sure whether that

         piece of paper was in the car and was removed from the car by the police.

8.       The police took everything out of my car and searched everywhere inside of my

         car. From start to finish, the whole thing tool about one hour and 20 minutes. I

         was handcuffed behind my back the entire time.

9.       They told me I could leave. They told me that they had put all my property in the

         car. They un-cuffed me and I left. I saw my property inside the car.




                                           2
         Case 1:21-cr-10051-MLW Document 77 Filed 02/02/22 Page 3 of 3




       SIGNED under the pains and penalties of perjury this 1st day of February, 2022.



                                                      _________________________
                                                      Manuel Santana Vizcaino




                                       Certificate of Service

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and paper copies will be sent to those indicated as non registered participants on February ___,
2022.

                                                      /s/ E. Peter Parker
                                                      E. Peter Parker




                                                 3
